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                                 FOREMOST GROUPS, INC. f/k/a                   Case No. CVII-7473 GAF (Ex)
                            12   FOREMOST INTERNATIONAL                        Hon. Gary A. Feess
                                 TRADING CO., INC.,                            Courtroom 740
                            13
                                                   Plaintiff,
                            14                                                  xxxxxxx
                                                                               [PROPOS ORDER GRANTING
                                          vs.                                  APPLICATION FOR PRELIMINARY
                            15                                                 INJUNCTION
                                 AYERS BATH (USA)
                            16   CORPORATION,
                                                                              Hearing Date:       October 24,2011
                            17                     Defendant.                 Hearing Time:       9:30 a.m.
                                                                              Hearing Location:   Courtroom 740
                            18
                            19
                            20
                            21            The Court, having considered Plaintiff FOREMOST GROUPS, INC. f/k/a
                            22   FOREMOST INTERNATIONAL TRADING CO., INC.'S (collectively
                            23   "Foremost" or "Plaintiff') Application for Preliminary Injunction pursuant to Fed.
                            24   Rules Civ. P. 65 and any opposition thereto or argument thereon, and having found
                            25   that Foremost has established a likelihood that (i) Defendant Ayers Bath (USA)
                            26   Corporation ("Defendant" or "Ayers") is infringing on Foremost's exclusive right
                            27   of distribution, existing and prospective contractual relations and trademark rights
                            28   in violation of the laws of the United States and the State of California;
DRINKER BIDDLE &
   REATH LLP
 ATTORNEYS AT LAW
                                 LAOI/ 1045666,1                              1
   Inc:   A"lr.~f 1':'<::
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                                                       [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
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                         1   (ii) Foremost will be irreparably harmed in the absence of the relief sought herein
                         2   because such injury naturally flows from Ayers' acts of infringement; (iii) the
                         3   balance of the hardships weighs heavily in Foremost's favor; and (iv) a preliminary
                         4   injunction is in the public interest. For these reasons,
                         5             IT IS HEREBY ORDERED as follows:
                         6             1.       Plaintiff Foremost's Application for Preliminary Injunction
                         7   is GRANTED;
                         8             2.       Defendant Ayers Bath (USA) Corporation and its officers, agents,
                         9   servants, employees, and all those in active concert or participation with Defendant,
                        10   shall stop selling, distributing and/or offering for sale any and all Tangshan Huida
                        11   Ceramic Group Co., Ltd. ("Huida") bathroom vitreous china and/or porcelain and
                        12   sanitary ware parts and products, including but not limited to toilets and kitchen and
                        13   bathroom sinks, in the United States and Canada in violation of Foremost's
                        14   exclusive distribution agreement;
                        15             3. Defendant shall stop its infringement of Foremost's unique Maximum
                                       XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
                        16   XXXXXXXXXXXXXXXXXXXX
                             Performance label; and
                        17             4.       Plaintiff shall post security in the amount of $ 100,000.00_
                       18    pursuant to Fed. Rules Civ. P. 65(c).
                       19
                       20    IT IS SO ORDERED.
                       21
                       22    Dated: December 20, 2011                    By:
                                                                                Hon. Gary A. Feess
                       23
                                                                                United States District Court Judge
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DRINKER BIDDLE          &
   REATH LLP
 ATTORNEYS AT LAW
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                                                    [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
